    Case 2:24-cv-00026-GRB-JMW Document 4 Filed 01/04/24 Page 1 of 4 PageID #: 30


AO 440 (Rev. 06/12) Summons in a Civi l Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District of New York

                                                                )
        Paul Stavola, individually and on                       )
        behalf of those individuals                             )
        similarly situated                                      )
                             Plaintiff(s)                       )
                                                                )
                                 V.                                     Civil Action No. 2:24-cv-00026-GRB-JMW
                                                                )
        MACRO DIGITAL TECHNOLOGY CORP.,                         )
             and PETER KACZENSKI                                 )
                                                                 )
                                                                 )
                            Defendanl(s)                        )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) Peter Kaczenski
                                    18 Junard Blvd.
                                    Port Jefferson Station, NY 11776




          A lawsuit has been filed against you.

         Within 21 days afier service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Saul D. Zabell, Esq.
                                 Zabell & Colletta, P.C.
                                 1 Corporate Drive, Suite 103
                                 Bohemia, New York 11716



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                           BRENNA B. MAHONEY
                                                                           CLERK OF COURT


Date:           1/4/2024
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:24-cv-00026-GRB-JMW

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (/))

           This summons for (name of individual and title, ifany)
 was received by me on (date)

           □   I personally served the summons on the individual at (place)
                                                                                 on (date)                           ; or

           0 I left the summons at the individual 's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          - - - - - - -- - - - - - - - - - -
           on (date)                               ' and mailed a copy to the individual 's last known address; or

           0 I served the summons on (name ofindividual)                                                                      , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                 on (date)                           ; or

           □   I returned the summons unexecuted because                                                                           ; or

           0 Other {specify) :




           My fees are$                            for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                             Server 's signature



                                                                                         Printed name and title




                                                                                             Server 's address

 Additional information regarding attempted service, etc:
    Case 2:24-cv-00026-GRB-JMW Document 4 Filed 01/04/24 Page 3 of 4 PageID #: 32


AO 440 (Rev. 06/1 2) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District of New York

        Paul Stavola, individually and on                       )
        behalf of those individuals similarly                   )
                                                                )
        situated
                                                                )
                             Plaintijf(s)                       )
                                                                )
                                 V.                                     Civil Action No. 2:24-cv-00026-GRB-JMW
                                                                )
        MACRO DIGITAL TECHNOLOGY CORP.,                         )
             and PETER KACZENSKI                                )
                                                                )
                                                                )
                           Def endant(s)                        )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defe ndant 's name and address) Macro Digital Technology Corp.
                                     211-2 Knickerbocker Avenue
                                     Bohemia, NY 11716




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff' s attorney,
whose name and address are: Saul D. Zabel!, Esq.
                                 Zabel! & Colletta, P.C.
                                 1 Corporate Drive, Suite 103
                                 Bohemia, New York 11716



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                          BRENNA B. MAHONEY
                                                                          CLERK OF COURT


Date:        1/4/2024
         - - - - -- - - - -
                                                                                   Signature o/erkorDeputy Clerk
     Case 2:24-cv-00026-GRB-JMW Document 4 Filed 01/04/24 Page 4 of 4 PageID #: 33


AO 440 (Rev. 06/ 12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:24-cv-00026-GRB-JMW

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, ifany)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
          - -- - - - - - - - - - - - - - - -
           on (date)                                , and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individuaQ                                                                       , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                 on (date)                            ; or

           0 I returned the summons unexecuted because                                                                              ; or

           0 Other (specijj.,):




           My fees are$                             for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                             Server's signature


                                                                                         Printed name and title




                                                                                             Server's address

 Additional information regarding attempted service, etc:
